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NOTICE OF APPEARANCE IN A CRIMINAL CASE

CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA
VS. Criminal Number 22 CR 378 (DLF)

ADRIAN WADE
(Defendant)

 

TO: ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

| AM APPEARING IN THIS ACTION AS: = (Please check one)

[=] cJA ["]  RETAINE U FEDERAL PUBLIC DEFENDER

 

7]

PLEASE PRINT THE FOLLOWING INFORMATION:

CHRISTOHER M. DAVIS 385582
(Attorney & Bar ID Number)
DAVIS & DAVIS

 

 

(Firm Name)

1350 CONNECTICUT AVE NW STE 202
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